                  IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                            EASTERN DIVISION
                           NO. 4:03-CR-88-1H
                           No. 4:05-CV-131-H

TORRIE MONTREZ HOOD,                1
                                    )
          Petitioner,               )
                                    1
                                    )
     v.                             )
                                                       ORDER
                                    )
                                    )
UNITED STATES OF AMERICA,           )
                                    )
          Respondent.               )


     This matter is before the court on the government's motion for

extension of time and petitioner's motion to strike or for summary

judgment.     For good cause shown, the government's motion for

extension of time [DE #I221 is GRANTED and the motion to dismiss

filed on February 15, 2006 is deemed timely filed and will be

considered.    In light of the granting of the government's motion

for extension of time, petitioner's motion to strike or for summary

judgment [DE #I291 is DENIED.

     The clerk is directed to reissue the Rule 12 letter to
petitioner, giving petitioner an additional twenty (20) days to

respond to the government's motion to dismiss.




                                  Senior united stap/es District Judge
At Greenville, NC
#3 0




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